       Case 2:19-cv-07952-FMO-MAA Document 13 Filed 09/24/19 Page 1 of 1 Page ID #:86

                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Four Jays Music Company                                             CASE NUMBER

                                                                                 2:19-cv-07952 FMO (MAAx)
                                                    PLAINTIFF(S)
                              v.
Apple Inc et al                                                             ORDER RE TRANSFER PURSUANT
                                                                              TO GENERAL ORDER 19-03
                                                                                  (RELATED CASES)
                                                   DEFENDANT(S).

                                                            CONSENT
                                     TRANSFER ORDER
      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 19-03.
                                        DECLINED
                      Date                                         United States District Judge

                                                         DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:
Different parties; different copyrights; no substantial duplication of effort if heard by a different Judge.




            September 24, 2019                                     John F. Walter /s/
                  Date                                             United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case 2:19-cv-04073 JFW (RAOx) and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge    TRANSFER toORDER                    Magistrate Judge                                         .

           On all documents subsequently filed inDECLINED
                                                 this case, please substitute the initials                 after the case number
in place of the initials of the prior judge, so that the case number will read                                   . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (03/19)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Cases)
